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 8                              IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,

13                 Plaintiff,                            CR. S-10-0211-03 FCD

14          vs.                                          ORDER FOR RELEASE OF PERSON IN
                                                         CUSTODY
15   ANGELIQUE MARSHALL,
16                 Defendant.
                                                /
17
     TO:    UNITED STATES MARSHAL:
18

19          This is to authorize and direct you to release ANGELIQUE MARSHALL, Case No.

20   CR. S-10-0211-03 FCD, Charge 18 U.S.C. § 286 - Conspiracy to Defraud the United States, from

21   custody subject to the conditions as stated in open Court on April 25, 2011:

22                 Release on Personal Recognizance

23                 Bail Posted in the Sum of $ [ ]

24                         Unsecured Appearance Bond

25                         Appearance Bond with 10% Deposit

26
      Case 2:10-cr-00211-GEB Document 136 Filed 04/25/11 Page 2 of 2


 1                             Appearance Bond with Surety

 2                             Corporate Surety Bail Bond

 3                     X       (Other) [Defendant sentenced to TIME SERVED - Judgment and
 4                             Commitment to be issued].
 5
     Issued at Sacramento, CA on April 25, 2011 at 10:30 a.m.
 6

 7   Dated: April 25, 2011

 8                                               _______________________________________
                                                 FRANK C. DAMRELL, JR.
 9                                               UNITED STATES DISTRICT JUDGE

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26   MARSHALL, ANGELIQUE release order.wpd         2
